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                            CIVIL MOTION MINUTES
                            (via TELECONFERENCE)


Date: 12/23/20                                           Judge: Brinkema
                                                         Reporter: A. Thomson
Time: 2:56pm – 3:45pm
      3:34pm – 4;13pm


Civil Action Number: 1:20mc39

  Kevin D. Ash                        vs. Richard E. Ward, II

Appearances of Counsel for: (X ) Pltf – Derek Swanson, Tom Dunlap
                            (X) Deft – Jason Hickman
                            (X) Company representative – Jane Imperatore

Motion to/for:
 #1 Pltf Emergency Motion for Ex Parte Temporary Restraining Order




Argued &
( ) Granted ( X) Denied (   ) Granted in part/Denied in part
( )Held in Abeyance ( ) Taken Under Advisement ( ) Continued to ( ) Overruled
During 1st phone conference pltf’s counsel & company rep Imperatore appeared
Court advised of case status; parties directed to call again at 3:45pm with deft
During 2nd phone conference all parties appeared; motion argued,
 Court advised of deft status
  Parties advised to attempt to resolve matter


( ) Memorandum Opinion to Follow
( X) Order to follow
